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            EXHIBIT A
                   Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 2 of 31

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          Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 3 of 31




                             Myma de Jesus
Person Filing:
Address (if not protected):
City, State, Zip Code:
Telephone:             321-507-0971

Email Address: s2madeje@alumni vcu edu
Lawyer's Bar Number:

Representing          Self, without a Lawyer or 0Attorney for [1 Plaintiff OR      ri Defendant

                                  SUPERIOR COURT       ARIZONA
                                      IçLMARteO A C.pt TY
       Myrna de Jesus                   -                       CV2021 -006475
                                                    sCiest No.:
Name of Plaintiff
                                     \
                                                                                SUMMONS
                                                                                    you would like legal advice from a lawyer.
And                                                                                 Contact the Lawyer Referral Service at
       Dignity Health Corporation dba St. Joseph's Hospital and
                                                                                                 602-257-4434
                         Medical Center
                                                                                                       or
Name of Defendant                                                                            EMM-sid=sabEIMEg
                                                                                               Sponsored by the
                                                                                       IVlaricopa County Bar Association

      WARNING: This is an official document from the court that affects your rights. Read this carefully.
                           If you do not understand it, contact a lawyer for help.


                              Dignity Health Corporation dba St. Joseph's Hospital and
FROM THE STATE OF ARIZONA TO:                       Medical Center
                                     Name of Defendant

 1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers are served on you
    with this "Summons."
 2. If you do not want a judgment or order taken against you without your input, you must file an
    "Answer" or a "Response" in writing with the court, and pay the filing fee. If you do not file an
    "Answer" or "Response" the other party may be given the relief requested in his/her Petition or
    Complaint. To file your "Answer"or "Response"take, or send,the "Answer"or "Response"to the:

           •    Office of the Clerk of the Superior Court, 201 West Jefferson Street, Phoenix, Arizona 85003-
                2205 OR
           •    Office of the Clerk of the Superior Court, 18380 North 40th Street, Phoenix, Arizona 85032 OR
           •    Office of the Clerk of Superior Court, 222 East Javelins Avenue, Mesa, Arizona 85210-6201
                OR
           •    Office of the Clerk of Superior Court, 14264 West Tierra Buena Lane,Surprise, Arizona, 85374.
       Mail a copy of your "Response" or "Answer" to the other party at the address listed on the top of
       this Summons.




@ Superior Court of Arizona in Maricopa County                                                 CV11f 031820
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         Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 4 of 31



                                                                             Case Number:

 3. If this "Summons"and the other court papers were served on you by a registered process server or
    the Sheriff, within the State of Arizona, your "Response"or "Answer" must be filed within TWENTY
    (20) CALENDAR DAYS from the date you were served, not counting the day you were served. If this
    " Summons"and the other papers were served on you by a registered process server or the Sheriff
     outside the State of Arizona, your Response must be filed within THIRTY(30)CALENDAR DAYS from
    the date you were served, not counting the day you were served. Service by a registered process
    server or the Sheriff is complete when made. Service by Publication is complete thirty (30) days after
    the date of the first publication.

 4. You can get a copy of the court papers filed in this case from the Petitioner at the address listed at
    the top of the preceding page,from the Clerk of the Superior Court's Customer Service Center at:

         •    601 West Jackson, Phoenix, Arizona 85003
         •    18380 North 40th Street, Phoenix, Arizona 85032
         •    222 East Javelina Avenue, Mesa, Arizona 85210
         •    14264 West Tierra Buena Lane, Surprise, Arizona 85374.

 5. Requests for reasonable accommodation for persons with disabilities must be made to the division
    assigned to the case by the party needing accommodation or his/her counsel at least three(3)judicial
    days in advance of a scheduled proceeding.

 6. Requests for an interpreter for persons with limited English proficiency must be made to the division
    assigned to the case by the party needing the interpreter and/or translator or his/her counsel at least
    ten (10)judicial days in advance of a scheduled court proceeding.


 7. Eviction Actions/Forcible Detainers: If you want to request a telephonic hearing, please contact the
    judge assigned to your case. If you do not know your assigned judge, or have not been assigned a
    judge, please contact Civil Court Administration at 602-506-1497.




SIGNED AND SEALED this date
                                                   APR 1 6 2021
                                                   4.iRcfm Rumor COURT
                                                            Crtitg:
                                                         PENN CLERK


        By
                                    Deputy Clerk




© Superior Court of Arizona in Maricopa County                                      CV11f 031820
ALL RIGHTS RESERVED                                   Page 2 of 2
             Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 5 of 31




Person Filing:         Myrna de Jesus
Address (ifnot protected):
City, State, Zip Code:
Telephone: 321-507-0971                                                          APR 1-6 2_14
Email Address:                                                                   Ok_ERK OF THi....r7
Representing[X]Self or[]Attorney for                                                      Dpitto ••••••.1.41%1`
Lawyer's Bar Number:


                                 SUPERIOR COURT OF ARIZONA
                               IN Maricopa           COUNTY
                                                                              CV2.821-006475
 Myrna de Jesus                                                Case Number:
 Name ofPlaintiff
                                                               Title: CIVIL COMPLAINT

 Dignity Health Corporation dba St.                            Slander and Defamation
 Joseph's Hospital and Medical Center
 Name of Defendant

Plaintiff hereby submits this complaint against Defendant(s) and alleges the following:

JURISDICTION and VENUE

1.       The Superior Court in        Maricopa                County has the legal authority to hear and
         decide this case because:(Check all boxes that are true)

        [X]        The value ofthis case exceeds $10,000 dollars.

        []         Replevin or other nonmonetary remedy will take place in
                   County.

        [X]        The Plaintiff resides in     Maricopa                     County.

        []         The Defendant resides in                                  County.


         pq        The Defendant does business in       Maricopa                   County.




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                                                                Case Number:


        [X]        The events, actions, or debts subject ofthis Complaint occurred in Maricopa
                   County.

        []         Other reason:



DISCOVERY TIER

2.       Pursuant to Arizona Rules of Civil Procedure, Rule 26.2(c)(3), the Court should assign my case
         to the following tier based on the amount of damages I request.

        []         Tier 1 = Actions claiming $50,000 or less in damages.

        []         Tier 2= Actions claiming more than $50,000 and less than $300,000 in damages,

         OR        Actions claiming nonmonetary relief.

        [X]        Tier 3 = Actions claiming $300,000 or more in damages

PARTIES

3.       The Plaintiff in this case is:
            Myrna de Jesus




4.       The Defendant in this case is:
            Dignity Health Corporation dba St. Joseph's Hospital and Medical Center




STATEMENT OF FACTS AND BREACH
                             COMPLAINT

NOW COMES,Myrna de Jesus, by pro se, and files the within complaint:


 5.         The plaintiffis Myrna de Jesus, an adult individual, residing in 1535 N. Scottsdale Rd #1026,
            Maricopa County, Tempe, Arizona.


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                                                                 Case Number:




 6.         Defendant, Dignity Health Corporation, a municipal corporation formed under the laws of
            California and is a public body, whose state of corporation and principal place of business is
            185 Berry Street, Suite 300, San Francisco, California, was present at the time ofthe incident
            in the scope ofemployment ofthe plaintifffor Unitedhealth Group.




 7.         At all times as relevant to this complaint, the defendant was the owner and operator of St.
            Joseph's Hospital and Medical Center which its principal business is 350 Thomas W Rd.,
            Maricopa County,Phoenix, Arizona.




 8.         As relevant to this complaint, the plaintiff was officially hired as a permanent employee by
            Unitedhealth Group as a Patient Coordinator but work as a Compliance/Registrar. The
            plaintiff started her work on April 15,2020. The plaintiff reports on duty from 8:30 am to
            5:00 pm,Monday to Friday, at St. Joseph's Hospital and Medical Center. As a
            Compliance/Registrar,the plaintiff does her assigned work based on the compliance log—a
            list of patients not completely registered, inpatient or outpatient--and has to use the hospital's
            computer called "WOW," aka Work-On-Wheels. The WOW machine consists of a computer
            desktop, a sign-in pad used for electronic signing, and a backup battery placed in the cart. The
            plaintiff's work involves in direct interaction with the patients who are not completely
            registered; where the patients are admitted either as direct/transfer, or via Emergency
            Department. The plaintiff was trained to obtain and verify the patient's demographics which
            includes, but not limited to, correct name,DOB,insurance, emergency contacts, and the
            signing ofthe documents electronically.




 9.         On March 1,2021, approximately 10:30 am,the plaintiff was working on her normal duty
            when she was asked to meet with the manager, Sarah Hernandez, at her office. The plaintiff
            was told that the defendant's management made several verbal and written allegations against
            the plaintiff. The plaintiff was informed that the alleged obnoxious behavior was learned and

Arizona Supreme Court                               Page 3 of8                                     CVC10f-070118
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Continuation of Statement of Facts and Breach


                            STATEMENT OF FACTS AND BREACH



11. Defendant's conduct, as alleged in paragraph #9 and #10, constitute volitional slander, was blatantly
offensive, harmful, and malicious;

12. Defendant's conduct, as alleged in paragraph #10, constitute defamation, was nefarious, venomous,
polarizing, and sarcastic;

13. Defendant's act, as alleged in paragraph #10, were committed within the scope of its power, being the
corporation that owns and operates St. Joseph Hospital and Medical Center; and,

14. By reasons of the defendant's evil and repulsive actions, as alleged in paragraph #10, caused the
plaintiffs premature and immediate separation from work with Unitedhealth Group, as Unitedhealth
Group via its liaison company--0ptum360, was only a contractual vendor ofthe defendant.
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                                                                        Case Number:


             shared to other hospital workers,including the patients, medical students, and nursing
             students. The plaintiff was utterly defamed and slandered due to the falsity ofthe verbal
             allegations made by the defendant.




  10.        The defendant was iniquitous and recklessly slanderous in:
                a. publicizing orally, by making the false verbal allegations to the plaintiffs manager
                   that the plaintiff, like a deranged individual,"screamed loudly and cussed at everyone
                    inside the hospital for no reason;"
                b. defaming the plaintiff, by making a deliberate falsehood that the plaintiff screamed
                    the words "fucking bitch" to all the hospital workers and publicized it orally to several
                    workers inside the hospital premises; and,
                c. verbally sharing the falsehood to the entire staffs and hospital workers, including the
                    third-party individuals, such as the patients, medical students, and nursing students,
                    by falsely alleging that the plaintiff was "being rude to all the patients all the time."


            (see additional page for continuation)


(If you need more space, add an attachment labeled "Statement of Facts and Breach," and continue
 consecutive numbering.)

 APPLICABLE LAW SUPPORTING CLAMS


 (         )              Citing 28 U.S. Code 4101 (1), by definition ofdefamation "...forms ofspeech are false,
                          have caused damage to reputation or emotional distress, have presented any person in
                          a false light, or have resulted in criticism, dishonor, or condemnation of any person."
                          Under the law of Arizona, "Any person who publishes a false and defamatory
                          communication concerning a private person or concerning a public official or public
                          figure in relation to a private matter, is subject to liability, if, but only if, he(a)knows
                          that the statement is false and it defames the other,(b)acts in reckless disregard ofthese
                          matters, or (c) acts negligently in failing to ascertain them." See case of               iis
                         !Diamond Exch. ofAm., Inc. v. Better Bus. Bureau ofMaricopa Cnty., Inc., 130 Ariz.
                          523, 528, 637 P.2d 733, 738 (1981); also, citing cases ofPeagIer v. Phx. News., Inc.,
                          114 Ariz. 309, 315, 560 P.2d 1216, 1222 (1977);!Dube v. Likins, 216 Ariz. 406, 417,
                          167 P.3d 93, 104(Ct. App. 2007); 1?owland v. Union Hills Cntry. Club, 157 Ariz. 301,
                          306, 757 P.2d 105, 110 (Ct. App. 1988). In the present case, the defendant was fully
                          aware that the information orally publicized was blatantly false. The verbal falsehood
                          was spread to everyone inside the hospital. The plaintiff is a private individual and the
                         falsehood publicized verbally was very injurious and defaming. Citing the Gertz


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                        mandate on Gertz v. Robert Welch, Inc., 418 U.S. 323, 347, 94 S.Ct. 2997, 3010, 41
                        L.Ed.2d 789, 809(1974):

                        580B. Defamation of Private Person
                        One who publishes a false and defamatory communication concerning a private
                        person, or concerning a public official or a public figure in relation to a private matter,
                        is subject to liability, if, but only if, he(a) knows that the statement is false and that it
                        defames the other,(b)acts in reckless disregard ofthese matters, or(c) acts negligently
                        in failing to ascertain them. Id. at 315, 560 P.2d at 1222.




(         )             The defendant verbally spread the falsehood against the plaintiff. The law states that,
                        "Publication .... is a word of art, which includes any communication by the defendant
                        to a third person." See case ofSaban v. Maricopa Cnty., 1 CA-CV 08-0607, *5,22,
                        2010 WL 2977553(Ariz. Ct. App. July 29, 2010), quoting Restatement(Second)of
                        Torts § 652E, cmt. a(1977); see case of Dube,216 Ariz. at 417, 167 P.3d at 104.
                        Also, the "Publication for defamation purposes is communication to a third party,"
                        citing Morris v. Warner, 160 Ariz. 55,62,770 P.2d 359,366(Ct. App. 1988);
                        Restatement(Second)of Torts § 577(1977).




(         )             The defendant's irresponsible and malicious verbal dissemination ofthe falsehood
                        concerning the plaintiff's behavior led to disrepute, contempt, or ridicule, and in
                        return impeached the plaintiff's honesty, integrity, virtue, or reputation." Citing the
                        court's meritorious opinions in the cases of Turner v. Devli4, 174 Ariz. 201,203-04,
                        848 P.2d 286,288-89(1993), Godbehere v. Phx. News., Inc., 162 Ariz. 335, 341, 783
                        P.2d 781,787(1989), and !Burns v. Davis, 196 Ariz. 155, 165, 993 P.2d 1119, 1129
                    (Ct. App. 1999).



(         )             The defendant's slander and defamation arose, to the spread of defamatory statements,
                        after alleging the falsehood that the plaintiff screamed and cussed hospital personnel
                        inside the hospital is contemptible. Quoting the court's opinion, it stated that
                        "Statements of opinion are actionable when they 'imply a false assertion offact." See
                        case of Milkovich v. Lorain Journal Co.,497 U.S. 1, 18-19, 110 S.Ct. 2695,2706
                    (1990).



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(          )             The defendant verbally spread the slanderous information "of and concerning" the
                         plaintiff, further citing the case of Reynolds v. Reynolds 231 Ariz. 313,294 P.3d 151,
                         155-56(Ct. App. 2013)




(          )             The defendant knew ofthe defamatory statement's falsity, was negligent of its
                         actions; it was all a product ofthe defendant's imagination. As cited by the court that
                         "Negligence is... conduct which creates an unreasonable risk of harm. It is the
                         failure to use that amount of care which a reasonably prudent person would use under
                         like circumstances" as opined in the case of Peagler, 114 Ariz. at 316,560 P.2d at
                         1223 and St. Amant v. Thompso4,390 U.S. 727, 88 S.Ct. 1323 (1968)).




(          )


(If you need more space, add an attachment labeled "Applicable Laws Supporting Claims," and continue
 consecutive numbering.)

INJURIES
As a result, the plaintiff suffered the following:

(a)                       irreparable emotional harm and mental anguish including worry,fear, sleeplessness,
                         anxiety, discomfort, and depression, some, or all of which may be permanent in
                         nature;



                         a complete economic damage on the plaintiff; plaintiff immediately terminated from
                         work;
(b)



                         suffered a total loss of wages ofthirty five thousand ($35,000.00) dollars a year, plus
                         health benefits and others;
 (c)



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Continue.... INURIES


                                               INJURIES



       f. may eventually get evicted from the apartment for non-payment ofthe house monthly rent of
one thousand ($1,200.00)US dollars and other incidentals;

        g. will not be able to pay car insurance of$145.00 per month;

        h. was disqualified to receive AZ unemployment monetary benefits;

         i. will not be able to find a decent employment because ofthe "termination record on the
plaintiff's file due to the false allegation, in which it implied "mental issues and bad behavior;"

       j. may become homeless and experience abject poverty.
             Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 13 of 31
                                                                     Case Number:




                         will not be able to pay the outstanding US Department ofEducation student loan debt
 (d)                     of over two hundred thousand ($200,000.00) US dollars;




 (e)

                         will not be able to pay outstanding credit card debts of over five thousand ($5,000.00)
                         US dollars;

(If you need more space, add an attachment labeled "Injuries," and continue consecutive numbering.)

 DEMAND FOR RELIEF

 WHEREFORE,Plaintiff demands judgment against defendant(s), and each of them (if applicable) for
 the following dollars, interest, costs, and expenses incurred herein, or non-monetary remedy, including
 reasonable attorneys' fees, and for such other and further relief as the Court may deem just and proper.


 (         )             The plaintiff demandsjudgement against the defendant in an amount an excess often
                         million ($10,000,000.00) dollars, plus costs.




 (         )



 (         )

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                                                         Case Number:




(If you need more space, add an attachment labeled "Demand for Relief," and continue consecutive
 numbering.)




  Dated this     Aer4 I-
                    (Date ofsignature)




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 1           GREENBERG TRAURIG, LLP
                     ATTORNEYS AT LAW
 2                        SUITE 700
                2375 EAST CAMELBACK ROAD
                  PHOENIX, ARIZONA 85016
 3                      (602) 445-8000

 4
      Lindsay J. Fiore, SBN 026382, FioreL@gtlaw.com
 5    Shalayne L. Pillar, SBN 034066, PillarS@gtlaw.com
      Attorneys for Defendant Dignity Health Corporation
 6    dba St. Joseph’s Hospital and Medical Center
 7

 8                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 9                        IN AND FOR THE COUNTY OF MARICOPA
10
        MYRNA DE JESUS,                                  No. CV2021-006475
11
                          Plaintiff,                     NOTICE OF APPEARANCE
12
        v.
13
                                                         (Assigned to Hon. Michael Kemp)
14      DIGNITY HEALTH CORPORATION dba
        ST. JOSEPH’S HOSPITAL AND MEDICAL
15      CENTER,
16
                          Defendant.
17

18            PLEASE TAKE NOTICE that Lindsay J. Fiore and Shalayne L. Pillar of the law
19    firm of Greenberg Traurig, LLP, hereby enter their appearance as counsel of record in the
20    above-captioned action on behalf of Defendant Dignity Health Corporation dba St.
21    Joseph’s Hospital and Medical Center (“Defendant”), and hereby request that all notices
22    given or required to be given to Defendant, and all papers served or required to be served
23    on Defendant in the above-captioned action, be given and served upon:
24
                                           Lindsay J. Fiore
25                                        Shalayne L. Pillar
                                  GREENBERG TRAURIG, LLP
26
                                2375 East Camelback Road, Suite 700
27                                    Phoenix, Arizona 85016
                                        FioreL@gtlaw.com
28                                      PillarS@gtlaw.com

      ACTIVE 57454765v1
                                                                Case 2:21-cv-00926-DWL Document 1-3 Filed 05/26/21 Page 29 of 31



                                                            1            This request encompasses all notices, copies, and pleadings, including, without
                                                            2    limitation, notices of any orders, motions, demands, complaints, petitions, pleadings or
                                                            3    requests, applications and any other documents brought before this Court in this case,
                                                            4    whether formal or informal, written or oral, or transmitted or conveyed by mail, e-mail,
                                                            5    delivery, telephone, telegraph, telex or otherwise.
                                                            6            DATED this 12th day of May 2021.
                                                            7
                                                                                                         GREENBERG TRAURIG, LLP
                                                            8

                                                            9                                      By:    /s/ Lindsay J. Fiore
                                                                                                         Lindsay J. Fiore
                                                           10                                            Shalayne L. Pillar
                                                                                                         Attorneys for Defendant Dignity Health
                                                           11
                                                                                                         Corporation dba St. Joseph’s Hospital and
                     2375 EAST CAMELBACK ROAD, SUITE 700




                                                           12                                            Medical Center
                           PHOENIX, ARIZONA 85016
   G REENBERG T RAURIG




                                                           13
                                                                 ORIGINAL of the foregoing e-filed with the
                                (602) 445-8000




                                                           14
LAW OFFICES




                                                                 Clerk of Court this 12th day of May 2021.
                                                           15
                                                                 COPY of the foregoing electronically distributed
                                                           16    this 12th day of May 2021 to:
                                                           17
                                                                 Hon. Michael Kemp
                                                           18

                                                           19
                                                                 COPY of the foregoing served via TurboCourt
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                                                           21

                                                           22    Myrna de Jesus
                                                                 Plaintiff Pro Per
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                                                           24

                                                           25    /s/ Barrie Peagler
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                                      Person Filing: Lindsay J. Fiore                                           K. Higuchi-Mason, Deputy
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                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA
                                     De Jesus Vs. Dignity Health Corporation                CREDIT MEMO
                                                                                            Case Number: CV2021006475
                                                                                            Form Set #5702834


                                     RECEIVED FROM:       Lindsay J. Fiore
                                     PAYMENT FOR:         Dignity Health Corporation


                                     PAYMENT IS FOR THE FOLLOWING:
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